                                        EXHIBIT G
                       [Combined December 2021 and January 2022 Invoice]




DOCS_DE:238894.1 18502/001
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                               Pachulski Stang Ziehl & Jones LLP
                                         780 Third Avenue
                                            34th Floor
                                        New York, NY 10017
                                                                 January 31, 2022
IDS                                                              Invoice 129782
                                                                 Client   18502
                                                                 Matter   00002
                                                                          IDS

RE: Committee Representation

 _______________________________________________________________________________________

         STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 01/31/2022
               FEES                                              $144,907.00
               EXPENSES                                              $762.15
               TOTAL CURRENT CHARGES                             $145,669.15

               BALANCE FORWARD                                   $405,092.70
               TOTAL BALANCE DUE                                 $550,761.85




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  Summary of Services by Professional
  ID        Name                          Title                Rate        Hours               Amount

 BMM        Michael, Brittany M.          Counsel             695.00      136.60         $94,937.00

 BMM        Michael, Brittany M.          Counsel             700.00       55.00         $38,500.00

 IAWN       Nasatir, Iain A. W.           Partner             700.00        1.60             $1,120.00

                                                                           13.70             $9,590.00
 IDS        Scharf, Ilan D.               Partner             700.00
                                                                            0.70              $490.00
 JIS        Stang, James I.               Partner             700.00
                                                                            0.90              $270.00
 LSC        Canty, La Asia S.             Paralegal           300.00
                                                                         208.50          $144,907.00




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Diocese of Buffalo O.C.C.                                                   Invoice 129782
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  Summary of Services by Task Code
  Task Code         Description                                    Hours                         Amount

 AA                 Asset Analysis/Recovery[B120]                    7.20                       $5,032.00

 BL                 Bankruptcy Litigation [L430]                    17.40                      $11,796.50

 CA                 Case Administration [B110]                       1.20                        $838.00

 CO                 Claims Admin/Objections[B310]                  162.60                  $113,188.50

 CP                 Compensation Prof. [B160]                        0.50                        $347.50

 GC                 General Creditors Comm. [B150]                   6.60                       $4,618.00

 H                  Hearings                                         1.00                        $699.00

 IC                 Insurance Coverage                               1.90                       $1,330.00

 ME                 Mediation                                        2.70                       $1,886.00

 SL                 Stay Litigation [B140]                           7.40                       $5,171.50

                                                                   208.50                  $144,907.00




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18502 - 00002                                                            January 31, 2022


  Summary of Expenses
  Description                                                                          Amount
Pacer - Court Research                                                                 $11.50
Postage [E108]                                                                         $78.11
Reproduction Expense [E101]                                                           $170.74
Reproduction/ Scan Copy                                                                 $1.80
Research [E106]                                                                       $500.00

                                                                                      $762.15




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                                                                                        Hours           Rate       Amount

  Asset Analysis/Recovery[B120]
 12/08/2021   BMM     AA        Call with Debtor's and parish counsel regarding          1.10        695.00         $764.50
                                parish expenditures.

 12/20/2021   BMM     AA        Review Debtor’s recent document productions.             0.50        695.00         $347.50

 01/04/2022   BMM     AA        Communications with Debtor's counsel regarding           0.20        700.00         $140.00
                                document productions.

 01/05/2022   BMM     AA        Analyze outstanding document requests.                   1.00        700.00         $700.00

 01/06/2022   BMM     AA        Analyze outstanding document requests.                   1.00        700.00         $700.00

 01/07/2022   BMM     AA        Analyze outstanding document requests.                   1.00        700.00         $700.00

 01/08/2022   BMM     AA        Analyze outstanding document requests.                   1.10        700.00         $770.00

 01/18/2022   BMM     AA        Call with S. Temes regarding outstanding financial       0.20        700.00         $140.00
                                discovery.

 01/18/2022   BMM     AA        Email to I. Scharf regarding motion to compel.           0.20        700.00         $140.00

 01/19/2022   BMM     AA        Call with Debtor's counsel regarding outstanding         0.10        700.00          $70.00
                                discovery.

 01/20/2022   BMM     AA        Review communications from Debtor's counsel              0.70        700.00         $490.00
                                regarding motions to compel and discovery.

 01/27/2022   BMM     AA        Call with S. Temes regarding outstanding financial       0.10        700.00          $70.00
                                discovery.

                                                                                         7.20                      $5,032.00

  Bankruptcy Litigation [L430]
 12/03/2021   IDS     BL        Meet with SCC regarding Diocesan Review Board            0.40        700.00         $280.00
                                issues.

 12/14/2021   IDS     BL        Call with counsel to survivor regarding disclosure to    0.30        700.00         $210.00
                                Diocesan Review Board.

 12/29/2021   BMM     BL        Draft objection to Diocese disclosure motion.            2.30        695.00        $1,598.50

 12/30/2021   BMM     BL        Draft objection to Diocese disclosure motion.            0.20        695.00         $139.00

 12/30/2021   BMM     BL        Draft objection to Diocese disclosure motion.            0.40        695.00         $278.00

 12/30/2021   BMM     BL        Draft objection to Diocese’s sale motion.                1.80        695.00        $1,251.00

 01/03/2022   BMM     BL        Draft objection to Diocese's sale motion.                0.80        700.00         $560.00

 01/04/2022   IDS     BL        Begin revision of objection to Motion to sell AB         0.60        700.00         $420.00




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18502 - 00002                                                                                     January 31, 2022


                                                                                          Hours           Rate        Amount
                                Walsh HS.

 01/04/2022   BMM     BL        Call with I. Scharf regarding objections and motions.      0.30        700.00          $210.00

 01/17/2022   BMM     BL        Revise objection to motion to sell property.               0.60        700.00          $420.00

 01/26/2022   BMM     BL        Revise Motion to compel.                                   4.50        700.00        $3,150.00

 01/27/2022   BMM     BL        Call with S. Bensen regarding motion to compel             0.30        700.00          $210.00
                                stipulation.

 01/28/2022   BMM     BL        Revise Motion to compel.                                   3.50        700.00        $2,450.00

 01/28/2022   BMM     BL        Calls with I. Scharf regarding case issues and             0.50        700.00          $350.00
                                briefing.

 01/31/2022   LSC     BL        Coordinate filing of objection to motion to sell,          0.90        300.00          $270.00
                                serve same, and prepare/file certificate of service for
                                same.

                                                                                          17.40                      $11,796.50

  Case Administration [B110]
 12/06/2021   JIS     CA        Call I. Scharf re Buffalo status.                          0.20        700.00          $140.00

 12/06/2021   BMM     CA        Call with Debtor's counsel regarding ongoing case          0.40        695.00          $278.00
                                issues.

 01/03/2022   IDS     CA        Call with Diocese counsel regarding mediation,             0.30        700.00          $210.00
                                pending matters.

 01/31/2022   BMM     CA        Call with Debtor's counsel regarding ongoing issues.       0.20        700.00          $140.00

 01/31/2022   IAWN CA           Review Scharf case update                                  0.10        700.00           $70.00

                                                                                           1.20                        $838.00

  Claims Admin/Objections[B310]
 12/01/2021   BMM     CO        Review sexual abuse claims and revise chart.               1.00        695.00          $695.00

 12/01/2021   BMM     CO        Review sexual abuse claims and revise chart.               4.70        695.00        $3,266.50

 12/02/2021   BMM     CO        Review Diocesan Review Board policies.                     2.00        695.00        $1,390.00

 12/02/2021   BMM     CO        Review sexual abuse claims and revise chart.               3.80        695.00        $2,641.00

 12/02/2021   BMM     CO        Review sexual abuse claims and revise chart.               4.40        695.00        $3,058.00

 12/03/2021   BMM     CO        Review sexual abuse claims and revise chart.               3.30        695.00        $2,293.50

 12/03/2021   BMM     CO        Review sexual abuse claims and revise chart.               0.80        695.00          $556.00




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                                                                                  Hours           Rate       Amount

 12/03/2021   BMM     CO        Review sexual abuse claims and revise chart.       2.70        695.00        $1,876.50

 12/05/2021   BMM     CO        Review sexual abuse claims and revise chart.       6.70        695.00        $4,656.50

 12/06/2021   BMM     CO        Review sexual abuse claims and revise chart.       1.60        695.00        $1,112.00

 12/06/2021   BMM     CO        Review sexual abuse claims and revise chart.       0.10        695.00          $69.50

 12/06/2021   BMM     CO        Review sexual abuse claims and revise chart.       0.70        695.00         $486.50

 12/07/2021   BMM     CO        Review sexual abuse claims and revise chart.       2.00        695.00        $1,390.00

 12/07/2021   BMM     CO        Review sexual abuse claims and revise chart.       2.00        695.00        $1,390.00

 12/07/2021   BMM     CO        Review sexual abuse claims and revise chart.       0.60        695.00         $417.00

 12/07/2021   BMM     CO        Review sexual abuse claims and revise chart.       0.50        695.00         $347.50

 12/08/2021   BMM     CO        Review sexual abuse claims and revise chart.       1.60        695.00        $1,112.00

 12/08/2021   BMM     CO        Review sexual abuse claims and revise chart.       0.50        695.00         $347.50

 12/08/2021   BMM     CO        Review sexual abuse claims and revise chart.       0.90        695.00         $625.50

 12/09/2021   BMM     CO        Review sexual abuse claims and revise chart.       0.90        695.00         $625.50

 12/09/2021   BMM     CO        Review sexual abuse claims and revise chart.       6.80        695.00        $4,726.00

 12/10/2021   BMM     CO        Review sexual abuse claims and revise chart.       1.10        695.00         $764.50

 12/10/2021   BMM     CO        Review sexual abuse claims and revise chart.       3.50        695.00        $2,432.50

 12/13/2021   BMM     CO        Review sexual abuse claims and revise chart.       1.30        695.00         $903.50

 12/14/2021   BMM     CO        Review sexual abuse claims and revise chart.       3.30        695.00        $2,293.50

 12/15/2021   BMM     CO        Review sexual abuse claims and revise chart.       4.30        695.00        $2,988.50

 12/15/2021   BMM     CO        Review sexual abuse claims and revise chart.       0.10        695.00          $69.50

 12/15/2021   BMM     CO        Review sexual abuse claims and revise chart.       1.30        695.00         $903.50

 12/15/2021   BMM     CO        Review sexual abuse claims and revise chart.       0.60        695.00         $417.00

 12/16/2021   BMM     CO        Review sexual abuse claims and revise chart.       0.10        695.00          $69.50

 12/16/2021   BMM     CO        Review sexual abuse claims and revise chart.       1.50        695.00        $1,042.50

 12/16/2021   BMM     CO        Meeting with I. Scharf regarding claims review.    0.50        695.00         $347.50

 12/18/2021   BMM     CO        Review sexual abuse claims and revise chart.       2.30        695.00        $1,598.50

 12/19/2021   BMM     CO        Review sexual abuse claims and revise chart.       3.30        695.00        $2,293.50

 12/20/2021   BMM     CO        Review sexual abuse claims and revise chart.       2.60        695.00        $1,807.00




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                                                                                  Hours           Rate       Amount

 12/20/2021   BMM     CO        Review sexual abuse claims and revise chart.       1.10        695.00         $764.50

 12/20/2021   BMM     CO        Review sexual abuse claims and revise chart.       1.00        695.00         $695.00

 12/21/2021   BMM     CO        Review sexual abuse claims and revise chart.       1.40        695.00         $973.00

 12/21/2021   BMM     CO        Review sexual abuse claims and revise chart.       1.10        695.00         $764.50

 12/21/2021   BMM     CO        Review sexual abuse claims and revise chart.       0.70        695.00         $486.50

 12/21/2021   BMM     CO        Review sexual abuse claims and revise chart.       0.10        695.00          $69.50

 12/21/2021   BMM     CO        Review sexual abuse claims and revise chart.       1.10        695.00         $764.50

 12/21/2021   BMM     CO        Review sexual abuse claims and revise chart.       1.70        695.00        $1,181.50

 12/22/2021   BMM     CO        Review sexual abuse claims and revise chart.       9.60        695.00        $6,672.00

 12/22/2021   BMM     CO        Review sexual abuse claims and revise chart.       1.70        695.00        $1,181.50

 12/23/2021   BMM     CO        Review sexual abuse claims and revise chart.       0.50        695.00         $347.50

 12/23/2021   BMM     CO        Review sexual abuse claims and revise chart.       6.20        695.00        $4,309.00

 12/23/2021   BMM     CO        Review sexual abuse claims and revise chart.       1.70        695.00        $1,181.50

 12/28/2021   BMM     CO        Prepare discovery requests related to motion to    0.80        695.00         $556.00
                                disclosure POC.

 12/28/2021   BMM     CO        Prepare discovery requests related to motion to    1.10        695.00         $764.50
                                disclosure POC.

 12/29/2021   BMM     CO        Review sexual abuse claims and revise chart.       5.20        695.00        $3,614.00

 12/30/2021   BMM     CO        Review sexual abuse claims and revise chart.       1.30        695.00         $903.50

 12/30/2021   BMM     CO        Review sexual abuse claims and revise chart.       5.30        695.00        $3,683.50

 12/30/2021   BMM     CO        Review sexual abuse claims and revise chart.       2.70        695.00        $1,876.50

 12/31/2021   BMM     CO        Review sexual abuse claims and revise chart.       2.50        695.00        $1,737.50

 12/31/2021   BMM     CO        Review sexual abuse claims and revise chart.       5.00        695.00        $3,475.00

 12/31/2021   BMM     CO        Review sexual abuse claims and revise chart.       1.10        695.00         $764.50

 01/03/2022   BMM     CO        Review sexual abuse claims and revise chart.       0.40        700.00         $280.00

 01/05/2022   BMM     CO        Review sexual abuse claims and revise chart.       0.90        700.00         $630.00

 01/10/2022   BMM     CO        Review sexual abuse claims and revise chart.       1.00        700.00         $700.00

 01/11/2022   BMM     CO        Review sexual abuse claims and revise chart.       2.00        700.00        $1,400.00

 01/13/2022   BMM     CO        Review sexual abuse claims and revise chart.       7.90        700.00        $5,530.00



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                                                                                 Hours            Rate       Amount

 01/14/2022   BMM     CO        Review sexual abuse claims and revise chart.       0.60        700.00         $420.00

 01/14/2022   BMM     CO        Review sexual abuse claims and revise chart.       2.20        700.00        $1,540.00

 01/14/2022   BMM     CO        Review sexual abuse claims and revise chart.       3.30        700.00        $2,310.00

 01/15/2022   BMM     CO        Review sexual abuse claims and revise chart.       1.10        700.00         $770.00

 01/15/2022   BMM     CO        Review sexual abuse claims and revise chart.       4.00        700.00        $2,800.00

 01/16/2022   BMM     CO        Review sexual abuse claims and revise chart.       2.40        700.00        $1,680.00

 01/16/2022   BMM     CO        Review sexual abuse claims and revise chart.       1.10        700.00         $770.00

 01/17/2022   BMM     CO        Review sexual abuse claims and revise chart.       0.60        700.00         $420.00

 01/17/2022   BMM     CO        Review sexual abuse claims and revise chart.       3.20        700.00        $2,240.00

 01/17/2022   BMM     CO        Review sexual abuse claims and revise chart.       1.20        700.00         $840.00

 01/18/2022   BMM     CO        Review sexual abuse claims and revise chart.       2.20        700.00        $1,540.00

 01/18/2022   BMM     CO        Review sexual abuse claims and revise chart.       1.40        700.00         $980.00

 01/28/2022   BMM     CO        Revise claims chart for Committee review.         0.80         700.00         $560.00

                                                                                 162.60                  $113,188.50

  Compensation Prof. [B160]
 12/29/2021   BMM     CP        Prepare PSZJ interim fee application.              0.50        695.00         $347.50

                                                                                   0.50                       $347.50

  General Creditors Comm. [B150]
 12/06/2021   JIS     GC        Call with Debtor re mediator selection.            0.30        700.00         $210.00

 12/07/2021   IDS     GC        Email update to SCC                                0.30        700.00         $210.00

 12/14/2021   IDS     GC        Call with Committee Chair regarding pending        0.40        700.00         $280.00
                                issues.

 12/14/2021   IDS     GC        Work on presentation to committee regarding        0.60        700.00         $420.00
                                mediation.

 12/20/2021   BMM     GC        Communications with Committee and SCC              0.40        695.00         $278.00
                                regarding upcoming meetings.

 01/04/2022   JIS     GC        Call I. Scharf regarding case status.              0.20        700.00         $140.00

 01/04/2022   IDS     GC        Call with SCC regarding case strategy, pending     0.60        700.00         $420.00
                                motions, mediation.




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                                                                                      Hours           Rate       Amount

 01/04/2022   IDS     GC        Prepare for SCC call.                                  0.20        700.00         $140.00

 01/04/2022   BMM     GC        Participate in state court counsel call regarding      0.60        700.00         $420.00
                                ongoing case issues.

 01/04/2022   BMM     GC        Communications with Committee regarding meeting        0.20        700.00         $140.00
                                schedules.

 01/05/2022   IDS     GC        Analysis impact of Purdue on case strategy.            1.00        700.00         $700.00

 01/06/2022   IAWN GC           Telephone conference w/ TCC re mediation               1.00        700.00         $700.00

 01/26/2022   BMM     GC        Communication with client regarding motion to          0.30        700.00         $210.00
                                compel stipulation.

 01/27/2022   BMM     GC        Communication with Committee regarding                 0.50        700.00         $350.00
                                upcoming hearings and other case issues.

                                                                                       6.60                      $4,618.00

  Hearings
 12/13/2021   BMM     H         Participate in hearing on continuation of motion.      0.20        695.00         $139.00

 01/28/2022   BMM     H         Attend hearing on motion to compel deadlines.          0.80        700.00         $560.00

                                                                                       1.00                       $699.00

  Insurance Coverage
 01/05/2022   IDS     IC        Update analysis of parish liability.                   1.90        700.00        $1,330.00

                                                                                       1.90                      $1,330.00

  Mediation
 12/03/2021   IDS     ME        Telephone conference with potential mediator           0.50        700.00         $350.00
                                regarding mediator role.

 12/14/2021   IDS     ME        Call with potential mediator, Diocese, insurer         0.90        700.00         $630.00
                                regarding Mediation.

 12/16/2021   BMM     ME        Draft letter to court regarding mediator selection.    0.80        695.00         $556.00

 12/27/2021   IAWN ME           Exchange emails with Scharf re potential mediator.     0.10        700.00          $70.00

 12/27/2021   IAWN ME           Review Bucki decision re mediator                      0.20        700.00         $140.00

 12/27/2021   IAWN ME           Review Scharf email re same                            0.10        700.00          $70.00

 01/04/2022   IAWN ME           Exchange emails with Michael re mediator               0.10        700.00          $70.00




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                                                                                      2.70                      $1,886.00

  Stay Litigation [B140]
 12/07/2021   IDS     SL        Work on Sister of the Good Shepherd motion for        1.20        700.00         $840.00
                                stay extension.

 12/12/2021   IDS     SL        Draft objection to Sisters of the Good Shepherd       2.50        700.00        $1,750.00
                                motion to extend stay.

 12/12/2021   IDS     SL        Revise objection to Sisters of the Good Shepherd      1.80        700.00        $1,260.00
                                motion to extend stay.

 12/12/2021   IDS     SL        Call with BMM regarding objection to Sisters of the   0.20        700.00         $140.00
                                Good Shepherd motion to extend stay.

 12/13/2021   BMM     SL        Revise objection to extension of automatic stay.      1.00        695.00         $695.00

 12/16/2021   BMM     SL        Communications with SCC and Debtor's counsel          0.70        695.00         $486.50
                                regarding stay defendants' schedule.

                                                                                      7.40                      $5,171.50

  TOTAL SERVICES FOR THIS MATTER:                                                                          $144,907.00




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 Expenses
 12/06/2021   RE        Reproduction Expense. [E101] UPS, BMM               53.24
 01/31/2022   PO        Postage                                             78.11
 01/31/2022   RE        ( 20 @0.10 PER PG)                                    2.00
 01/31/2022   RE        ( 1155 @0.10 PER PG)                               115.50
 01/31/2022   RE2       SCAN/COPY ( 10 @0.10 PER PG)                          1.00
 01/31/2022   RE2       SCAN/COPY ( 6 @0.10 PER PG)                           0.60
 01/31/2022   RE2       SCAN/COPY ( 2 @0.10 PER PG)                           0.20
 01/31/2022   RS        Research [E106] Everlaw, Inc. Inv. 51759           500.00
 01/31/2022   PAC       Pacer - Court Research                              11.50

   Total Expenses for this Matter                                       $762.15




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                                                REMITTANCE ADVICE

                                    Please include this Remittance with your payment

For current services rendered through:        01/31/2022

Total Fees                                                                                            $144,907.00

Total Expenses                                                                                               762.15

Total Due on Current Invoice                                                                          $145,669.15

  Outstanding Balance from prior invoices as of        01/31/2022          (May not include recent payments)

A/R Bill Number          Invoice Date               Fees Billed         Expenses Billed              Balance Due
 125270                  04/30/2020                $109,192.50              $625.07                   $10,919.25

 125276                  05/31/2020                $152,307.50              $578.14                   $15,230.75

 125334                  06/30/2020                 $41,562.50            $1,006.09                     $4,156.25

 126177                  07/31/2020                 $51,502.50            $1,349.12                     $5,150.25

 126524                  08/31/2020                 $33,130.00              $247.58                     $7,891.75

 128245                  03/31/2021                 $32,659.50              $555.35                     $3,448.23

 128247                  04/30/2021                 $18,006.50              $514.72                   $18,521.22

 128249                  05/31/2021                 $18,814.50              $500.00                   $19,314.50

 129096                  06/30/2021                 $11,449.00              $500.00                   $11,949.00

 129097                  07/31/2021                 $36,061.00              $594.20                   $36,655.20

 129098                  08/31/2021                 $74,858.50              $796.74                   $75,655.24

 129099                  09/30/2021                 $88,880.00            $2,475.12                   $91,355.12

 129102                  10/31/2021                 $31,554.50              $501.00                   $32,055.50

 129103                  11/30/2021                 $71,856.00              $934.44                   $72,790.44

             Total Amount Due on Current and Prior Invoices:                                          $550,761.85




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